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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                     Case No. 1:19-CV-20592-MARTINEZ/OTAZO-REYES

   VASSILIOS KUKORINIS, on behalf of
   himself and those similarly situated,

                  Plaintiff,

          v.

   WALMART, INC., a Delaware
   corporation

                  Defendant.


                               JOINT RESPONSE TO COURT’S ORDER

         Plaintiff, Vassilios Kukorinis (“Plaintiff”), and Defendant Walmart Inc. (“Defendant”)

  (collectively, the “Parties”), pursuant to the Court’s Order Requiring Expedited Briefing from the

  Parties, [ECF. No. 49], hereby submit the following response concerning the entitlement of Steven

  F. Helfand to participate in the October 7, 2020 Status Conference:

                        PARTIES’ SUMMARY POSITION STATEMENT

         The Parties have no objection to Mr. Helfand attending the October 7, 2020 Status

  Conference, as any member of the public has the right to do, as long as the details of Mr. Kukorinis’

  September 22, 2020 Declaration, [ECF No. 43], which was stricken sua sponte by the Court [ECF

  No. 44], are not divulged. Any substantive participation by Mr. Helfand at the October 7th Status

  Conference, however, is inappropriate and at best premature because: 1) Mr. Helfand has not yet

  filed an objection, and therefore has no standing; and 2) Any argument from an objector—whether

  Mr. Helfand or otherwise—would appropriately be heard at the February 26, 2021 final fairness

  hearing after the Parties have been given an opportunity to review, assess and respond to the

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  objection. [ECF No. 42]. Any public disclosure of the details of the September 22, 2020

  Declaration would divulge privileged and protected communications and, therefore, any such

  discussions should be had under seal.

         The Parties do, however, object to Mr. Helfand and any other person, entity, litigant,

  objector, or other non-party gaining access to or otherwise reviewing the September 22, 2020

  Declaration. Subsequent to its filing, Mr. Kukorinis clarified his misunderstanding of the scope of

  the Settlement and withdrew the September 22, 2020 Declaration. [ECF No. 45]. Mr. Kukorinis

  is in agreement with this Settlement and as the Court is aware, his September 22, 2020 Declaration

  inadvertently divulged privileged attorney-client communications and attorney work product, as

  well as privileged mediation communications protected by Florida, federal, and Local Rules.

                                   FACTUAL BACKGROUND

         On August 7, 2020, Plaintiff moved this Court for an Order Preliminarily Approving Class

  Settlement and Directing Class Notice (the “Motion”). [ECF No. 41]. On August 26, 2020, the

  Court granted Plaintiff’s Motion, certified the Settlement Class, directed notice to the Class, and

  set a schedule leading up to a Final Approval Hearing on February 26, 2021. [ECF No. 42]. On

  September 25, 2020, the Clerk of Court filed the Declaration of Mr. Kukorinis, [ECF No. 43],

  which he withdrew on September 28, 2020. [ECF No. 45].

         On October 5, 2020, Steven F. Helfand filed his “Notice of Appearance by Class Member

  and Intended Objector, Steven F. Helfand [sic]; Notice of Intent to Attend the October 7, 2020

  Status Conference,” [ECF No. 47]. Therein, Mr. Helfand expressed an intent to attend and

  participate in the Court’s October 7, 2020 Status Conference. Subsequently, the Court ordered the

  Parties to expeditiously brief “Mr. Helfand’s entitlement to participate in the conference.” [ECF

  No. 49].



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                                            ARGUMENT

     A. To the Extent the Court Discusses the Substance of Mr. Kukorinis’ September 22,
        2020 Declaration, the Status Conference Should be Sealed

         Mr. Kukorinis admitted his misunderstanding of the release. [ECF No. 45, ¶ 2]. Based on

  his misunderstanding, Mr. Kukorinis withdrew his prior declaration, requested that it be sealed,

  and expressed his agreement with the Settlement. [ECF No. 45, ¶¶ 3, 4]. As the Court has had the

  opportunity to review the September 22, 2020 Declaration, Mr. Kukorinis inadvertently revealed

  privileged and confidential information protected by the attorney-client and attorney work-product

  privileges, as well as privileged mediation communications.

         Under Florida law, the client holds the privilege and must be found to have intentionally

  waived his rights to a privilege with full knowledge. Smith v. Armour Pharm. Co., 838 F. Supp.

  1573, 1576 (S.D. Fla. 1993) (King, J.). Similarly, Local Rule 16(g)(2) requires that “[a]ll

  proceedings of [a] mediation shall be confidential and are privileged in all respects as provided

  under federal law and Florida Statutes § 44.405. The proceedings may not be reported, recorded,

  placed into evidence, made known to the Court or jury, or construed for any purpose as an

  admission against interest.” S.D. Fla. L.R. 16(g)(2). Florida law requires that a “mediation

  participant shall not disclose a mediation communication to a person other than another mediation

  participant or a participant’s counsel.” Fla. Stat. § 44.403(1); see Abrams-Jackson v. Avossa, 282

  F. Supp. 3d 1268, 1272–73 (S.D. Fla. 2017) (Matthewman, J.) (striking confidential mediation

  statement filed by opposing counsel for violating federal, Florida, and local rules).

         Here, Mr. Kukorinis admitted his misunderstanding of the settlement—in particular the

  negotiated release. [ECF No. 45, ¶ 2]. With the benefit of that clarification, Mr. Kukorinis asked

  that his September 22, 2020 Declaration be sealed—that the information contained therein not be

  disseminated to the public. Additionally, as the Court noted, Mr. Kukorinis’ September 22, 2020


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  Declaration “does not comport with Local Rules 7.7 and 11.1(d)(4),” which forbids a party

  represented by an attorney from “act[ing] on the party’s own behalf in the action or proceeding.”

  [ECF No. 44 (citing S.D. Fla. L.R. 11.1(d)(4))]. The Court, therefore, entered an Order sua sponte

  striking the September 22, 2020 Declaration from the docket. Id.

      B. Mr. Helfand Lacks Standing to Address the Court at this Stage of Litigation

         Mr. Helfand has no standing to participate at the October 7th Status Conference. The party

  seeking relief has the burden of proving standing. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

  1547 (2016). Mr. Helfand is not a party to this action. He is not an attorney representing a party

  to this action.1 He has not moved to intervene in the action pursuant to Federal Rule of Civil

  Procedure 24, and such a motion would be unsuccessful in any event.

         Mr. Helfand also is not an objector in this case.         Federal Rule of Civil Procedure

  23(e)(5)(A) requires that an objecting class member “must state whether [the objection] applies

  only to the objector, to a specific subset of the class, or to the entire class, and also state with

  specificity the grounds for the objection.” Mr. Helfand failed to provide any specificity with regard

  to his objection. And he clearly knows how to file an objection. As an attorney, and prior to being

  disbarred for, in part, misleading a court with respect to an objection to a class action settlement,2

  Mr. Helfand filed eight objections to such settlements,3 and as an objector, he has filed an


  1
    Nor could he be. He was disbarred by the State Bar of California (see Exhibit A (Notice of
  Disciplinary Charges); Exhibit B (Petition for Disbarment After Default for Failure to File Timely
  Response); Exhibit C (Decision and Order of Involuntary Active Enrollment); Exhibit D (Order
  from California Supreme Court); see also State Bar of California, Steven Franklyn Helfand
  [#206667]        of     Florida     Disbarred,     (April    28,    2020),       available     at:
  https://twitter.com/statebarca/status/1255165510473441280, and is not known to be admitted to
  practice before this Court.
  2
    Id.
  3
    See, e.g., ECF No. 193, In re Yahoo! Litig., No. 06-cv-02737 (N.D. Cal. Dec. 14, 2009); ECF
  No. 136, Perkins, et al v. LinkedIn Corp., No. 5:13-cv-04303 (N.D. Cal. Dec. 14, 2015); ECF No.
  196 Alexander, et al v. FedEx Ground Package Sys., Inc., No. 3:05-cv-38 (N.D. Cal. Jan. 10,
  2016); ECF No. 231, Chambers v. Whirlpool Corp., et al, No. 8:11-cv-01733 (C.D. Cal. May 27,
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  additional nine objections to class settlements.4 Plainly, Mr. Helfand is familiar with the contours

  of Rule 23, and in particular Rule 23(e), yet has wholly failed to satisfy the procedural and

  substantive requirements thereof.

         At least for now, Mr. Helfand is a stranger to this proceeding, and he has no standing to be

  heard at the Status Conference.

     C. The Appropriate Time to be Heard is Through the Objection Process and at the Final
        Approval Hearing

         The Court has set a schedule for the proposed settlement of this case, which includes a final

  fairness hearing to determine whether final approval is appropriate. [ECF No. 42]. Without any

  substance, Mr. Helfand has represented he “intends” to object to the settlement. [ECF No. 47].

  While this does not even begin to satisfy Rule 23(e), even if Mr. Helfand later meets the

  requirements of Rule 23(e), his voice is appropriately heard through a written objection and at the

  final fairness hearing—not at a status conference after preliminary approval has been granted and

  before the objection deadline, which is November 4, 2020. [ECF No. 42].

                                           CONCLUSION

         Based on the foregoing, the Parties jointly request the Court maintain the stricken and

  sealed status of Mr. Kukorinis’ September 22, 2020 Declaration. The Parties further jointly request



  2016); ECF No. 213, In re JPMorgan Chase & Co. Secs. Litig., No. 1:12-cv-03852 (S.D.N.Y. June
  10, 2016); and ECF Nos. 260, 264, 265, Spann v. J.C. Penney Corp., Inc., No. 8:12-cv-00215
  (C.D. Cal. June 30, 2016, to July 22, 2016).
  4
    ECF No. 27, Gay, et al v. Tom’s of Maine, Inc., No. 0:14-cv-60604-KMM (S.D. Fla. Dec. 2,
  2015); ECF No. 361, Brown v. The Hain Celestial Group, Inc., No. 3:11-cv-03082 (N.D. Cal. Dec.
  23, 2015); ECF No. 30, Baharestan v. Venus Labs., Inc., No. 15-cv-03578 (N.D. Cal. Jan. 17,
  2016); ECF No. 1282, In re: Auto. Parts Antitrust Litig., No. 12-md-02311 (E.D. Mich. April 6,
  2016); ECF No. 321, In re: Midland Credit Mgmt., Inc., TCPA, No. 11-md-02286 (S.D. Cal. April
  14, 2016); ECF No. 101, Mehigan v. Ascena Retail Group, Inc., et al, No. 15-cv-00724 (E.D. Pa.
  April 11, 2016); ECF No. 73, Morales v. Unilever, No. 2:13-cv-02213 (E.D. Cal. Oct. 3, 2016);
  ECF No. 190, Hooker v. Sirius XM Radio, Inc., No. 4:13-cv-00003 (E.D. Va. Nov. 8, 2016); ECF
  No. 117, Chester v. The TJX Co., Inc., No. 5:15-cv-01437 (C.D. Cal. April 4, 2018).
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  that, to the extent the Court intends to discuss the details of the September 22, 2020 Declaration,

  such discussion be sealed with only the Parties and their counsel participating. The Parties further

  jointly request that, otherwise, Mr. Helfand not be permitted to participate or otherwise be heard

  at the Status Conference.

  Dated: October 5, 2020                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 6, 2020, I electronically filed the foregoing document with

  the Clerk of Court using CM/ECF. I also certify that, due to the expedited nature of this Court’s

  briefing schedule, the foregoing document is being served this day on Mr. Steven F. Helfand solely

  via electronic mail at 1400Steven.Helfand@gmail.com.

                                                      /s/ Mark A. Salky




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